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U.S. D|STR|CT COURT
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IN THE UNITED STATES DISTRICT COUR:

FoR THE EASTERN DISTRICT oF TEXA OCT ' l w

 

 

LUFKTN DIVISION g
BY
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JACKIE LEE MILLER §
v. § CIVIL ACTION NO. 9:02cv210

DIRECTOR, TEXAS DEPARTMENT OF §
CRIMINAL JUSTICE, INSTITUTIONAL
DIVISION §

REPORT AND RECOMMENDATION OF THE
UNITED STATES MAGISTRATE JUDGE

The above-entitled and numbered habeas corpus action Was heretofore referred to United
States Magistrate Judge Judith K. Guthrie. On August 22, 2002, the undersigned ordered the
Petitioner to submit the 35 filing fee or a certified data sheet for his inmate trust account within 30
days. No response to the Order has been received from the Petitioner. The Court received an
acknowledgment card revealing that Petitioner received the Order on August 23, 2002. The
undersigned concludes that Petitioner has failed to prosecute his case by failing to comply With an
order of the Court. Accordingly, this case should be dismissed Without prejudice pursuant to Rule

4l(b) of the Federal Rules of Civil Procedure.

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ln light of the foregoing, it is recommended that this case be dismissed without prejudice
pursuant to Rule 4l(b) of the Federal Rules of Civil Procedure.

A party’s failure to file written objections to the findings, conclusions and recommendations
contained in this Report within ten days after service shall bar that party from de novo review by the
district judge of those findings, conclusions and recommendations and, except upon grounds of plain
error, from attacking on appeal the unobjected-to proposed factual findings and legal conclusions
accepted and adopted by the district court. Douglass v. Unilea’ Services Auto. Assn., 79 F.3d 1415,
1430 (5th Cir. 1996) (en banc).

SIGNED this § may/of September, 2002.

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@UDITH IQGUTHRIE
uNlTED sTATEs MAGISTRATE JUDGE

 

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